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.T.SB# 1534

Ai“torneys for Plaintiffs

IN THE DISTRICT COURT O'F THE SECOND .TUDICIAL DISTRICT
OF THE STATE OF IDAHO, IN AND FOR TH.E COUN. 1 Y OF NEZ PERCE

MARTIN "DICK" CI-IEN.EY and FA_RRIS

~ ., .E .,I div' .¢ a das Husband.and. . .
§/Iilf};\l Y_ n ldmlly n NO c va 6 * 02 2 6 5
COMPLA.I`.NT
Plaintiffs_.
Fee: $88.00
v. _Fee Category: .A(J)
USLIFE CR.EDIT LIFE INSURANCE Breach of Contract

coMPANY, AMERICAN GENERAL w 7
As SURANCE coMPANY fom.a)..z.y known
as USLIFE cwaan LIFE INSURANCE
coMPANY, AMERICAN
INTERNAHONAL GROUP, 1Nc. (AIG), and
AMERICAN GENERAL LIFE cown>ANIEs_,

 

Defend.ants.

 

COME NOW the above-named Plaintiffs, by and leough their attorney, Darrel W.
Aherin of Aherin, Rice & An,egon, and for a cause of action against the Defendants allege and
complain as follows:

I.

The plaintiffs are and at all times material herei.n, were residents of Ell< City, County of

Tdaho, State of Idaho.

cOMPLAINT -- 1 Ahe§?§;:.l;:§§§eg°n

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II.
The Defendants, USLife Credit Lifc Insurance Company, Amerioan General Assurancc
Company formally known as USLifc Credit Life Insurancc Company, American Intemational
Group, Inc. (AIG), and American General Li;t`e Companies, are insurance companies licensed to

do business in the State of ldalio.

III.

Oo. November 19, 1999, the Plaintiffs took out a second mortgage and purchased
insurance from Sterl.ing Savings Bank. T_he insurance included disability and Was issued by
USLife Creclit Life Insurance Company. 'l`he monthly disability benefit is $237.06. O.u. April 22,
2004, Mr. Cheney completed a Claimant‘s Statem.ent for Disability Insurance through AIG
/-\.men'can General Assurance Company formally known as USLife Crcdit Life Insurance
Com_pany. I-Ie filled out the form et Sterling Savings Banl<. AIG sent multiple forms for Mi‘.
Clieney to complete l\/Ir. Cheney completed all necessary forms and still has not received any
benefits from his disability insurance Mr. Cheney fully disclosed his 1992 back injury Witli. the
Defendants" agent Sterling Savings Ban.k, 'l.`hc Pl.aintist were told the 1992 injury was not a
problem in getting lite insurance

IV.
On Octobcr l, 200]., the Plaintiff, Martin “Dick” Clie):l.ey, became 100% disabled due to a
back injuryl Pla.intifi`s injury occurred in 1992 Whilc working for a railroad company Tlie
railroad company retired Mr. Clieney in 1992 with a pension because lie could not do his specific
job. In October Ot` 2001 , the railroad company sent Mr. Cheney a letter stating that lie was then
totally disabled Mr. Cheney Went to doctors and had physicals, which were set up by the
Railroad and on October l_, 2001, he was considered totally disabled due to his back injury in
1992. Mr. Cheney was also diagnosed with emphysema in 2002 by Dr. Edwards.
V.
Plaintiffs have not been paid for the disability benefits that Flaintiff, Mr.. Clieney is
entitled to from October l., 2001, to the present date.
VI.
'I.`be Defendants breached the policy of insurance by not paying the disability the Plaintiff,
l\/lr. Chen_ey, was entitled to for his disability
VII.
'l`b.e Plaintiffs have been damaged by the Defenclan.ts’ breach of contract
VIII.
Plaintiffs’ contract damages exceed $10_,000.00 but do not exceed S'I§,OOO.

Aherin Rice & Anegon
COMPLAH\IT “" 2 A'rrbs=zm-:Ys AT law

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IX.

P]aintiffs Will seek an order of the court allowing them to amend the complaint to seek
punitive damages if the Defcndants’ contract was an extreme deviation from reasonable
standards for breaching the contract

X.

The Plaintiffs have hired an attorney, namely Dairel W. Ahcrin of Alierin, Rice &
Anegon, to prosecute this mette.r. The Plaintiffs are entitled to attorney fees pursuant to I.C. 41-

1839. The Plaintiffs are entitled to prejudgment interest
WHEREFORE, Plaintiffs pray for judgment against the Dcfendants, and each ol" them as

follows:
FIRST:

Fo,r all contract damages allowable in an amount to be proven at

arbitration and/or trial;

SECON.D:
TI-IIRD:
FOURTH:
FIFTH:
damages; and
SIXTH:
in the premisesl

For interest on the contract damages as allowed by law;

.For attorney fees pursuant to I.C. 41-1839;

For costs expended in bringing this action;

For an order allowing Plain.tiffs to amend the complaint to claim punitive

For such other and further relief as the court may deem just and equitable

'/L.

D.A.TED this 2 g day of September, 2006.

COMPLAINT -- 3

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'AHERIN, RlCE & ANEGON

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Darrel W. Alterin
Attorney for Plaintiff

Aherin, Rice & A.negon
A~rroRNEYs AT LAW
szle'roN, |DAHQ

 

 

 

 

     

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